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      8                          UNITED STATES DISTRICT COURT
      9                        CENTRAL DISTRICT OF CALIFORNIA
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     11    BILL SCHEPLER, et al.,                     Case No. CV 18-6043-GW-AFMx

     12                        Plaintiff,

     13          v.                                     ORDER TO DISMISS

     14    AMERICAN HONDA MOTOR
           CO., INC., et al.,
     15
                               Defendants.
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                Based upon the stipulation between the parties and their respective counsel,
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          it is hereby ORDERED that this action shall be dismissed with prejudice and
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          without costs as to Plaintiffs’ individual claims and without prejudice and without
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          costs as to the putative class’s claims.
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                IT IS SO ORDERED.
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          Dated: October 26, 2021
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                                                     _________________________________
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                                                     HON. GEORGE H. WU,
     27                                              UNITED STATES DISTRICT JUDGE
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